CaSe:lS-lOQGB-TB|\/| DOC#2148 Filed:ll/SO/J_S Entered:ll/SO/J_S 11232:30 Pagel Ofl

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

Honorable Thomas B. McNamara
In re:

11380 SlVII'l`H ROAD, LLC,
EIN: XX-XXXXXXX,

Case No. 18-10965 TBM
Chapter 11

\_/V\_/\/\/\_/

Debtor.

 

ORDER GRANTING JOINT MOTION REGARDING POST-CONFIRMATION
REFINANCE

 

THIS MATTER is before this Court on the "Joint Motion to Approve Post-Plan
Confirmatilon Refmance and for Expedited Approval of Same" (Docket No 147, the “Joint
Motion”).l The Coult has reviewed the Joint Motion and the parties' assertions regarding the
uncertainty of the need for Court approval of their post- c-onfinnation refinancing airangement
therein Accordingly, it is hereby;

ORDERED that the Joint Motion is granted;

FURTHER ORDERED that the Debtor is authorized to innnediately proceed with a
proposed refinance of Lender’s note, or to consummate a future sale of the Debtor’s real
property commonly known as 11380 East Smith Road, Aurora, Colorado 80010, as
contemplated in the Plan that was confirmed on October 31, 2018, without fiuther Order of this
Court, provided that such refmance or future sale comply with the express terms of the
Stipulated Agreement;

FURTHER ORDERED that this Order shall satisfy the Debtor’s obligation,
pursuant to § 2 of the Stipulated Agreement, to obtain a Coiut order approving any
proposed refinance or a future sale of the Debtor’s real property; and

FURTHER ORDERED that nothing in this Order, or the Joint Motion, shall
prejudice, alter or otherwise impair the Parties’ respective rights and obligations under the

Stipulated Agreement and all such rights are hereby reserved to the respective Palties to their
fullest extent.

DATED this 30th day of November, 2018. BY THE COURT:

¢> /:/
%/_//// ' ’ -_ 7

C" Thoinas B. cNain;aia/
United States Bankiupfcy Couit Judge

 
    

 

 

l All capitalized terms not expressly defined herein shall have the meanings ascribed to them in the Joint Motion.

4838-4800-7041.2

